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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

                                                )
    In re:                                      ) Chapter 11
                                                )
    AEARO TECHNOLOGIES LLC, et al.,1            ) Case No. 22-02890-JJG-11
                                                )
                            Debtors.            ) (Jointly Administered)
                                                )

UNITED STATES TRUSTEE’S LIMITED OBJECTION TO DEBTORS’ MOTION
FOR ENTRY OF AN ORDER (I) AUTHORIZING THE DEBTORS TO FILE ONE
 LIST OF THE TOP LAW FIRMS REPRESENTING THE LARGEST NUMBERS
 OF TORT PLAINTIFFS ASSERTING CLAIMS AGAINST THE DEBTORS, (II)
 AUTHORIZING THE DEBTORS TO FILE ONE CONSOLIDATED CREDITOR
 MATRIX, (III) AUTHORIZING THE LISTING OF ADDRESSES OF COUNSEL
     FOR TORT CLAIMANTS IN THE CREDITOR MATRIX IN LIEU OF
CLAIMANTS’ ADDRESSES, (IV) AUTHORIZING THE DEBTORS TO REDACT
  PERSONALLY IDENTIFIABLE INFORMATION, (V) APPROVING CERTAIN
   NOTICE PROCEDURES FOR TORT CLAIMANTS, (VI) APPROVING THE
  FORM AND MANNER OF NOTICE OF THE COMMENCEMENT OF THESE
       CHAPTER 11 CASES, AND (VII) GRANTING RELATED RELIEF
                (THE “MATRIX MOTION”, DOCKET NO. 17)


         In support of her Limited Objection (the “Objection”) to the Debtors’

Motion for Entry of an Order (i) Authorizing the Debtors to File One List of the

Top Law Firms Representing the Largest Numbers of Tort Plaintiffs Asserting

Claims Against the Debtors, (ii) Authorizing the Debtors to File One

Consolidated Creditor Matrix, (iii) Authorizing the Listing of Addresses of

Counsel for Tort Claimants in the Creditor Matrix in Lieu of Claimants’




1 The debtors in these cases are Aearo Technologies LLC, In re Aearo Holding
LLC, In re Aearo Intermediate LLC, Aearo LLC, Aearo Mexico Holding
Corporation, In re Cabot Safety Intermediate LLC, 3M Occupational Safety LLC.
The debtors have requested that the cases be jointly administered. See Docket
in cases 22-02890-JJG-11, 22-02891-JJG-11, 22-02892-JJG-11, 22-02893-
JJG-11, 22-02894-JJG-11, 22-02895-JJG-11, and 22-02896-JJG-11. The
caption to the U.S. Trustee’s Objection is the caption proposed by debtors.
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Addresses, (iv) Authorizing the Debtors to Redact Personally Identifiable

Information, (v) Approving Certain Notice Procedures for Tort Claimants, (vi)

Approving the Form and Manner of Notice of the Commencement of These

Chapter 11 Cases, and (vii) Granting Related Relief (the “Matrix Motion”,

Docket No. 17). Nancy J. Gargula, the United States Trustee for Region 10 (the

“U.S. Trustee”), by and through her undersigned counsel, states as follows:

      1.       This Court has jurisdiction to hear this Objection under 28 U.S.C.

§§ 157 and 1334.

      2.       Pursuant to 28 U.S.C. § 586, the U.S. Trustee is charged with the

administrative oversight of cases commenced pursuant to chapter 11 of title 11

of the United States Code (the “Bankruptcy Code”). This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written

by Congress and interpreted by the courts. See United States Trustee v.

Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d

Cir. 1994) (noting the U.S. Trustee has “public interest standing” under 11

U.S.C. § 307, which goes beyond mere pecuniary interest).

      3.       Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard

on any issue in any case or proceeding, including with regard to this Objection.

                                   BACKGROUND

      4.       On July 26, 2022, the Debtors filed voluntary petitions for relief

under chapter 11 of Title 11 of the Bankruptcy Code.

      5.       An official committee of creditors has not yet been appointed in

these cases.


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        6.   The Debtors have continued in possession of their properties and

have continued to operate and maintain their business as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        7.   Concurrently with the Wages Motion, the Debtors have filed certain

other motions and applications also seeking certain “first day” relief on an

emergent basis, including multiple other motions seeking authority to pay pre-

petition obligations at the outset of these cases.

        8.   The Debtors have also filed the Declaration of John R. Castellano

in Support of Debtors’ Chapter 11 Petitions and Requests for First Day Motions

(the “Castellano’s Declaration”) (Docket No. 11).

                                   ARGUMENT

    The Debtors Seek to Replace the Largest Unsecured Creditor List with a
    List of Law Firms Representing the Greatest Number of Tort Claimants

        9.   Bankruptcy Rule 1007(d) requires that “a debtor in a voluntary

chapter 11 reorganization case shall file with the petition a list containing the

name, address and claim of the creditors that hold the twenty largest

unsecured claims, excluding insiders, as prescribed by the appropriate Official

Form.” Bankruptcy Rule 1007(d). Additionally, Local Rule B-1007-1(a)(3)

requires listing creditors alphabetically, “including the full mailing address and

zip code for each listed creditor, or include a statement that the address is

unknown.” In lieu of the required information, the Debtors seek the Court’s

permission to create a Top Counsel List.2


2
 Capitalized terms not defined herein have the same meaning ascribed to them
in the Notice Motion and/or Castellano’s Declaration.
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      10.   The Top Counsel List will consist of counsel that represent the

largest number of Tort Claimants. Matrix Motion ¶ 9. As the Debtors discuss,

the Top Counsel List may assist the U.S. Trustee in the creation of a Tort

Claimant’s Committee pursuant to 11 U.S.C. § 1102. Id. However, the U.S.

Trustee needs additional information in order to form a committee or

committees that will meet the requirements of § 1102, particularly in light of

the potentially disparate legal and economic interests of holders of Trade

Claims, Combat Arms Claims and Respirator Claims.

      11.   In order to contact Trade Creditors, claimants with Combat Arms

Claims, and claimants with Respirator Claims, the U.S. Trustee requests that

the Court require three separate Rule 1007(d) lists. First, one consisting of a

Top Counsel List for Combat Arms Claims’ counsel, the second consisting of a

Top Counsel List for Respirator Claims’ counsel, and the third consisting of the

Trade Creditors with the twenty largest claims. This request is more imperative

because the Debtors have not filed their Schedules with their Petitions. Debtors

have requested an extension of time to file their Schedules until late August. As

a result, the U.S. Trustee does not have the information needed to contact

creditors to determine the necessity of the appointment of one or more

committees under section 1102.




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                                   CONCLUSION

      For the reasons set forth herein, the U.S. Trustee requests that the Court

grant the Matrix Motion except that the Court require the Debtors to file three

separate Rule 1007(d) top twenty lists consisting of: (1) a Top Counsel List for

law firms representing claimants with Combat Arms Claims; (2) a Top Counsel

List for law firms representing claimants with Respirator Claims; and, (3) a list

of the largest Trade Creditors.



Date: July 26, 2022                           Respectfully submitted,

                                              NANCY J. GARGULA
                                              United States Trustee

                                        By:   /s/ Harrison E. Strauss
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                           CERTIFICATE OF SERVICE

        I hereby certify that on July 26, 2022, a copy of the foregoing Objection
was filed electronically. Notice of this filing will be sent to the following parties
through the Court’s Electronic Case Filing System. Parties may access this
filing through the Court’s system.

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       I further certify that on July 26, 2022, a copy of the foregoing Objection
was mailed by first-class U.S. Mail, postage prepaid, and properly addressed to
the following:

      None



                                            /s/ Harrison E. Strauss
                                            Harrison E. Strauss
                                            Trial Attorney




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